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                     UNITED STATES DISTRICT COURT

                     OF WESTERN DISTRICT OF TEXAS



    VICKI FANNING MCLEAN                CIVIL ACTION: A19-CV-0647

    ESTATE OF JAMES MCLEAN              JUDGE ROBERT PITMAN

    ESTATE OF LOUIS FANNING, SR         PATRIOT ACT OF 2001

    EX REL                              ESPIONAGE ACT OF 1917

    UNITED STATES OF AMERICA            ALIEN REGISTRATION ACT 1940

    PLAINTIFFS                          IMMIGRATION AND
                                        NATURALIZATION ACT OF
                                        1924 AND 1952

    VS                                  SEDITION ACT OF 1918

                                        MCCARREN-WALTERS
                                        ACT OF 1952
    PEOPLE'S REPUBLIC OF CHINA,
    COUNTRY OF                          TRADING WITH THE ENEMY
    1924 TO PRESENT                     ACT OF 1917, 1939

    MICHELLE KWOK LEE,          BANK SECRECY ACT OF 1970
    FORMER U.S. DIRECTOR OF THE
    PATENT AND TRADEMARK         RACKETEER INFLUENCED AND
    OFFICE                       CORRUPT ORGANIZATIONS
                                 ACT OF 1970
    ELAINE LAN CHAO, U.S.
    SECRETARY OF                 INTERNATIONAL IN TRAFFIC
    TRANSPORTATION               IN ARMS REGULATION OF 1976

    JAMES SI-CHENG CHAO                  SOCIAL SECURITY ACT OF
                                         1935 AND 1965
    RUTH MULAN CHU CHAO

                                                                         1
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FOREMOST GROUP, INC.                CIVIL RIGHTS ACT OF 1964

ANGELA CHAO                          INVENTIONS SECRECY ACT OF

HARVARD UNIVERSITY                  INTERNAL SECURITY ACT OF
1913 TO PRESENT
                                    ILLEGAL IMMIGRATION
PRISCILLA CHAN, SPOUSE OF           REFORM AND IMMIGRANT
MARK ZUCKERBERG CO-                 RESPNSIBILITY ACT OF 1996
FOUNDER OF FACEBOOK
                                   EMPLOYMENT RETIREMENT
STEVEN SHIH CHEN,                 INCOME SECURITY ACT OF 1974
CO-FOUNDER OF YOUTUBE

CHAN ZUCKENBERG INITIATIVE

STEVE S. CHEN, FOUNDER OF
SUPERCOMPUTER SYSTEMS, INC.

SHHNG-SHEN CHERN, AWARDED
THE WOLF PRIZE

PAUL CHING-WU CHU, PROFESSOR
AT UNIVERSITY OF HOUSTON

JU-CHIN CHU, FORMER PROFESSOR
AT VIRGINIA TECH

STEVEN CHU, FORMER U.S. SECRETARY
OF ENERGY

TSUNG-DAO LEE, FORMER PROFESSOR
AT COLUMBIA UNIVERSITY

YUAN-TSEH LEE, FORMER PROFESSOR
AT UNIVERSITY OF CALIFORNIA,
BERKELEY

SAMUEL C. C. TING, PROFESSOR
AT MASS INSTITUTE OF TECHNOLOGY

                                                                    2
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    DANIEL C. TUSI, FORMER PROFESSOR
    AT PRINCETON UNIVERSITY

    AU WANG, FOUNDER OF
    WANG LABORATORIES

    DAVID S. C. CHU, FORMER U.S.
    UNDER SECRETARY OF DEFENSE FOR
    PERSONNEL AND READINESS

    JOHN LIU FUGH, RETIRED MAJOR
    GENERAL IN U.S. ARMY

    CHRIS LU, FORMER U.S. DEPUTY
    SECRETARY OF LABOR

    TINA TCHEN, FORMER U.S. CHIEF
    OF STAFF TO THE FIRST LADY
    MICHELLE OBAMA

    ANDREW YANG, FOUNDER
    OF VENTURE OF AMERICA

    JUDY CHU, U.S. REPRESENTATIVE
    OF CALIFORNIA

    CHARLES DJOU, U.S. REPRESENTATIVE
    OF HAWAII

    HIRAM FONG, FORMER U.S. SENATOR
    FROM HAWAII



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4




    JIMMY MENG, FORMER NEW YORK
    LEGISLATURE

    GRACE MENG, U.S. REPRESENTATIVE
    OF NEW YORK

    DAVID WU, US REPRESENTATIVE OF
    OREGAN

    KAI LI, PROFESSOR AT PRINCETON
    UNIVERSITY & CO-FOUNDER OF
    DATA DOMAIN, INC.

    FRANK H. WU, CHANCELLOR AND
    DEAN OF THE UNIVERSITY OF
    CALIFORNIA

    WAY KUO, FORMER DEAN OF
    ENGINEERING AT UNIVERSITY
    OF TENNESSEE

    DAVID JUNG-KUANG CHIU
    FORMER DEAN AT HOFSTRA
    UNIVERSITY

    STEPHEN Z.D. CHENG, DEAN OF
    COLLEGE OF POLYMER SCIENCE
    AND POLYMER ENGINEERING AT
    UNIVERSITY OF AKRON



    DEFENDANTS

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                        AFFIDAVIT OF SERVICE FOR
                CASES A19-CV-0647-RP AND A19-CV-0648-RP



Motion to record the certified return receipt of the delivery of Vicki McLean, ET AL
EX REL USA VS PEOPLE'S REPUBLIC OF CHINA, ET AL to the U.S. Attorney
General William Barr under USPS tracking number 7018 0680 0001 0268 4953
mailed on June 25, 2019 and indicating received on June 28, 2019.

Due to being absolutely certain that all previous USPS mailings of federal cases filed
by Vicki McLean, ET AL EX REL USA were never really delivered to the U.S.
Attorney Generals of the United States and the U.S. Attorney except for the ones
hand delivered personally to the New Orleans U.S. Attorney office in 2015       April
of 2018 there is great certainty that U.S. Attorney General William Barr never
actually was allowed to receive U.S. District Court of Western District of Texas Case
A19-CV-0647-RP AND A19-CV0648-RP similar to U.S. District Court of Western
District of Texas Case Al 8-CV-1021 RP denying the Vicki McLean, ET AL EX
REL USA and the U.S. Citizens their rights to counsel and due process having
altered the original filing indicated in the forged order of Judge Robert Pitman dated
on June 18, 2019 for case Al 8-1021 -RP that required Judge Pitman to address the
case having been filed also for the U.S. Citizens requiring the U.S. Attorney General
to file in a motion to address the non-acceptance of the case for the U.S. Citizens
with reasoning. Due to Acting U.S. Attorney General Matthew Whitaker and U.S.
Attorney General William Barr obviously having no knowledge of the case Al 8-
102 l-RP that includes all previous federal cases filed by Vicki McLean for the U.S.
Citizens beginning on Dec. 21, 2007 in U.S. District Court of Eastern District of
Louisiana in New Orleans 07-9717 with Judge Thomas Porteous and Magistrate
Daniel Knowles no motion was filed by the U.S. Attorney General Office to accept,

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to reject, or dismiss the case denying the U.S. Citizens and Vicki McLean ET AL
rights to counsel and rights to due process. It was proven in Magistrate Judge Daniel
Knowles, III courtroom on 12/29/2015 in New Orleans when Vicki McLean gave
testimony that Magistrate Judge Daniel Knowles and Judge Thomas Porteous never
received case 07-9717 assigned to their court filed EX REL United States of
America. The Medicare and Medicaid fraud exposed in case 07-9717 has been so
massive by the Federal Reserve Shareholders since 1998 that no federal judge would
ever be allowed to grant the U.S. Citizens their rights to due process or rights to
counsel. For these reasons all of Vicki McLean's EX REL USA cases have been
altered and forged the judges' orders and the assistant U.S. Attorneys motions
dismissing the cases never allowing Vicki McLean in front of the real Federal Judges
assigned the case. After meeting in court with Magistrate Judge Daniel Knowles, III
and Assistant U.S. Attorney James Beahr from the New Orleans U.S. Attorney on
Dec. 29, 2015 giving testimony and handing the previously filed federal cases filed
EX REL USA by Vicki McLean Judge Daniel Knowles, III and U.S. Attorney Office
in New Orleans had all the proof they needed that all Vicki McLean's EX REL Cases
were never received by federal judges and the U.S. Attorney General Office and U.S.
Attorney in Charge also never received the cases denying the U.S. Citizens their
rights to due process and their rights to counsel. All testimony of Vicki McLean,
Federal Judge Daniel Knowles, Assistant U.S. Attorney James Baehr, and all
witnesses testimonies given on Dec. 29, 2015 were altered drastically in the file
records of the citation case hearing 1 5-CR-0205 including the Notice of Appeal filed
within a week. A motion to leave was filed in the case addressing alteration and
deletion of records and exhibits filed with the Notice of Appeal for 15-CR-0205. The
Appeal was denied being a forgery by 3 judges from the Fifth Circuit Court of
Appeals. The U.S. District Clerk Office in New Orleans and Federal Judge Daniel
Knowles reftising to notify the Foreign Intelligence Surveillance Court of the
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forgeries and forgeries of Intelligence Judge Martin Feldman resulted in the murder
of plaintiff Alexander Fanning in Dallas in May 2018 one month after filing federal
case 18-3462 in the Eastern District of Louisiana, New Orleans District assigned
originally with Judge Martin Feldman on April 2, 2018. Alexander Fanning murder
was falsely classified as a suicide and was done to intimidate Vicki McLean family
members living in Louisiana which is 7 out of 9 siblings to be used again like in
2005 and 2011 to do a illegal arrest and illegally psychiatric commitment based on
fraudulent Order for Protective Custody that would be forged like in 2005 and 2011
to aid in justification of dismissal of all cases placed under Judge Martin Feldman
without his knowledge since Sept. 28, 2016 so no assistant U.S. Attorney would be
needed to file a motion to dismiss if placed with the Judge Martin Feldman on
Sept.28, 2016 being at the time a member of the Foreign Intelligence Surveillance
Court. Clearly the U.S. Federal Court System and U.S. Attorney Office in New
Orleans is liable for the murder of Alexander Fanning due to not ftilfilling their oath
of office to uphold the U.S. Constitution and their moral obligation to put others
lives first before their lives just by revealing the truth and recording the truth.

This is why the physical and financial attacks on the McLean family and the Fanning
Clan continues in order to stop the Foreign Intelligence Surveillance Court actually
in charge of all Vicki McLean' s federal cases surely including A 18-1021 -RP and
Al 9-CV-5 091 -RP, Al 9-CV-0647-RP, Al 9-CV-0648-RP to stop Vicki McLean
from continuing to file cases against different defendants under the Patriot Act, etc.
to better enable the FISC to address all individuals, governments, and entities
involved in the massive theft of U.S. funds, etc.

It is certain that all past orders and future orders dismissing cases filed by Vicki
McLean, ET AL EX REL USA have been and will be forged denying Vicki McLean,
ET AL and the U.S. Citizens their rights to counsel and rights to due process. In the

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Western District of Texas, Austin Division the likely universities involved in the
forgery of judges' order and attorney's motions would be the University of Texas,
Texas A&M and Harvard University. The University of Texas and Texas A&M
involvement in altering and forging the judge's orders and attorney motions of Vicki
McLean federal and state cases were addressed in a federal case filing in the U.S.
District Court of Eastern Louisiana 17-5578. Vicki McLean intends to file a separate
case against Harvard University in Boston in the future to address all Harvard
University involvement in the forging of the judges' orders of Vicki McLean's
federal cases and Supreme court justices orders. There is a very high probability due
to case 17-5578 that Harvard University was involved in the forgery of U.S. District
Court of Eastern District of Louisiana cases 16-15001, 18-911, and of U.S. District
Court of Western District of Texas Case A 18-1021 -RP. The forgery of Judge Robert
Pitman's order on 6/18/20 19 becomes obvious when the order does not acknowledge
the case filed for the U.S. Citizens and no mention of no motion being filed by the
U.S. Attorney General Office to either accept, reject, or motion to dismiss the case.
Consistent with all previously filed EX REL Cases by Vicki McLean the original
filing filed by Vicki McLean Pro Se was altered to remove all information to protect
the Federal Reserve Shareholders and all universities involved in the forgery of all
previously filed Vicki McLean, ET AL EX REL USA, Pro Se.

Respectfully submitted Pro Se
for the U.S. Citizens and Plaintiffs
Pro Sejuly 8, 2019


Vicki Fanning McLean, Pro SE
7203 Oakwood Glen Blvd Apt. 8048
Spring, Texas 77379
832-610-1059
Vickimc1ean54(yahoo.com

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                              Case 1:19-cv-00647-RP Document 2 Filed 07/08/19 Page 9 of 10




                                   AFFIDAVIT OF SERVICE FOR
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                  RECEIVED CASES Al 9-CV-O647.pJ OR Al 9-CV-o648.pp BUT WAS
                      REALLY STOLEN AND TAKEN TO THE UNDERGROuND
                  DENYING THE U.S. CITIZENS THEIR RIGHTS TO COUNSEL LIKE
                ALL VICKI MCLEAN PREVIOUS FEDERAL. CASES FILED EX REL USA




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           REASONS WHY THERE IS GREAT CERTAINTY THAT
          THE U. S. ATTORNEY GENERAL WILLIAM BARR NEVER
      RECEIVED CASES A19-CV-0647-RP OR A19-CV-0648-RP BUT WAS
          REALLY STOLEN AND TAKEN TO THE UNDERGROUND
      DENYING THE U.S. CITIZENS THEIR RIGHTS TO COUNSEL LIKE
    ALL VICKI MCLEAN PREVIOUS FEDERAL CASES FILED EX REL USA




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               so that we can return the card to you.                                                                     C. Date of Delivery
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